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                           UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                       No. 2:15-CR-144-SMJ-11
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                Plaintiff,                         ORDER DENYING DEFENDANT’S
 9
   vs.                                             MOTION FOR RECONSIDERATION
10                                                 OF DETENTION
11 SEAN ROULLIER,                                  ☒      Motion Denied
12                      Defendant.                        (ECF No. 326)
13
           At the April 7, 2016, hearing on Defendant’s Motion for Reconsideration of
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     Detention, ECF No. 326, Defendant was present with counsel Terence M. Ryan.
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     Assistant U.S. Attorney Allyson Edwards represented the United States.
16
           The Court has reviewed the Report of Pretrial Services, ECF No. 267, the
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     Supplemental Report at ECF No. 340, and the argument of counsel.
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           The Court has no information regarding the circumstances of the alleged
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     offense, or the strength of the government’s case.
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           Defendant has lived most of his life in Spokane, has family in the city and, if
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     released, can live with his mother in Spokane.
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           According to available evidence, Defendant is 30 years old. His criminal
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     record over the twelve years since he became an adult consists of fourteen felonies,
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     under seven different cause numbers.       He has been the subject of six bench
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     warrants, and additional administrative warrants.       On four occasions, he has
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     violated conditions of either pretrial release or sentence. His latest felony resulted
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     in a two-year prison sentence, so this record has been accumulated in the ten years
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 1   that he was not custody.
 2         In 2007, by virtue of a state DOSA sentence (Drug Offender Sentencing
 3   Alternative), Defendant presumably received significant drug treatment. By
 4   defense counsel’s argument in court, Defendant was again afforded DOSA drug
 5   abuse treatment while serving his current 2014 state sentence.
 6         The crime(s) alleged are presumably non-violent. Defendant has a
 7   misdemeanor assault conviction dated 2014. Though no disposition per se is
 8   reported, the evidence implies that there was a contemporaneous no-contact order
 9   in effect until 2019.
10         In court Defendant argued that he should be released because he completed
11   his recent prison sentence on March 7, 2016, and pending trial in this matter, may
12   reside in Spokane with his mother and participate in the out-of-custody phase of
13   his state DOSA program.
14         After requesting further information from Pretrial Services, the Court
15   understands that the [state] release plan upon which Defendant’s March 7 release
16   date depends has not been approved by state DOC and, were this Court to release
17   Defendant, he would remain in state custody and be transported to Airway Heights
18   Correctional Center.
19         This Court has considered 18 U.S.C. § 3142 and the nature and
20   circumstances of the offense charged, the weight of the evidence against the
21   Defendant, as well as Defendant’s history and characteristics, including character,

22   physical and mental condition, family ties, employment, financial resources, length

23   of residence in the community, community ties, past conduct and history relating

24   to alcohol and drug abuse, and also criminal history, record concerning appearance

25   at court proceedings, whether Defendant was under supervision at the time of the

26   alleged offense. and the nature and seriousness of the danger to the community

27   posed by Defendant's release.

28         The Court finds the United States has established by the required

     ORDER - 2
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 1   preponderance of evidence an absence of conditions or combination of conditions
 2   that would reasonably assure this Defendant's presence at trial, but has not
 3   established by clear and convincing evidence that Defendant poses a present risk to
 4   the safety of other persons or the community.
 5         IT IS ORDERED the Defendant’s Motion, ECF No. 326, is DENIED.
 6         If a party desires that another Court review this order pursuant to 18 U.S.C.
 7   § 3145, that party shall promptly file a motion for review before the district judge
 8   to whom the case is assigned, as further described in the Detention Order Review
 9   Protocol published for the Eastern District of Washington. Both parties shall
10   cooperate to insure that the motion is promptly determined.
11         DATED April 8, 2016.
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13
                                           JOHN T. RODGERS
14                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 3
